Case 1:21-cv-01243-MSN-TCB Document 25 Filed 12/14/21 Page 1 of 16 PageID# 724




                       IN THE UNITED STATES DISTRICT COURT FOR
                           THE EASTERN DISTRICT OF VIRGINIA
                                  (Alexandria Division)

 TEACHERS INSURANCE AND ANNUITY                    :
 ASSOCIATION OF AMERICA,                           :
                                                   :
                Plaintiff,                         :
                                                   :      CASE NO. 1:21-cv-01243
 v.                                                :
                                                   :
 MITCHELL FALTER and JESSICA DOLL,                 :
                                                   :
                Defendants.                        :


                             PLAINTIFF’S REPLY IN SUPPORT OF ITS
                              MOTION FOR EXPEDITED DISCOVERY

                I.      INTRODUCTION

                Teachers Insurance and Annuity Association of America (“TIAA”) respectfully

 submits this reply in support of its motion for expedited discovery in order to prepare for a

 preliminary injunction hearing. In addition to being very helpful to the issues of solicitation and

 retention/use of client information, TIAA is expressly entitled to expedited discovery both under

 the Confidentiality and Non-Solicitation Agreements (the “Agreement”) signed by Defendants

 and applicable law.

                In opposing expedited discovery, Defendants largely argue that this matter is

 subject to FINRA arbitration and, under the FINRA Code of Arbitration Procedure, depositions

 are “strongly discouraged.” This case, however, is not subject to FINRA arbitration. Plaintiff is

 not a FINRA member. Defendants’ opposition also conveniently fails to mention that they too

 no longer are registered with FINRA.

                Defendants’ Agreements, which form the basis of Count I of the Complaint, also
Case 1:21-cv-01243-MSN-TCB Document 25 Filed 12/14/21 Page 2 of 16 PageID# 725




 are between Defendants and the entity with which they were employed, TIAA. (See Exhibits

 “A”-“B” to the Complaint at p. 1). By their own admission, Defendants were employed by

 TIAA – not the FINRA broker dealer. (See Defendants’ opposition to TIAA’s preliminary

 injunction motion at p. 11). It is black letter law as well that an employee owes a duty of

 loyalty/fiduciary duty to his or her employer. Count II against Falter, therefore, is based on the

 breaches of his loyalty/fiduciary duty to TIAA – not to the FINRA broker dealer.

                Indeed, one need look no further than Defendants’ own opposition to confirm this

 case is not arbitrable. On page 5, Defendants rely on FINRA Rule 13200(a) which limits a

 “Required Arbitration” to disputes involving “Members” or “Associated Persons.”

                Doll’s reliance on a Pre-Hire FINRA Rule 2263 Arbitration Disclosure is

 especially disingenuous. (Defendants’ Opposition at p. 6). Three lines from the bottom of page

 6, where the pertinent language is quoted, Defendants use ellipses (“…”) rather than quoting the

 language in its entirety. The language Defendants strategically exclude reads as follows: “that is

 required to be arbitrated.” (See Ex. B to the December 6, 2021 Declaration of Jessica Doll

 opposing expedited discovery at para. 1). Since this dispute is not between “Members” and

 “Associated Persons,” arbitration is not required, and the Pre-Hire Arbitration Disclosure is

 irrelevant.

                Importantly, even were this case subject to FINRA arbitration (and it is not),

 TIAA still would be entitled to expedited discovery. Courts throughout the country consistently

 grant expedited discovery in aid of preliminary injunction motions filed by FINRA firms to

 preserve the status quo pending FINRA arbitration. In a very recent decision, Morgan Stanley

 Smith Barney LLC v. Sevcik, Case No. 1:21-cv-01120-AA (D. Or. Oct. 6, 2021), the court found

 “good cause to permit limited, expedited discovery before the hearing on Morgan Stanley’s


                                                  2
Case 1:21-cv-01243-MSN-TCB Document 25 Filed 12/14/21 Page 3 of 16 PageID# 726




 request for a preliminary injunction” pending FINRA arbitration. (See Exhibit “A” hereto). The

 court permitted Morgan Stanley to conduct three depositions and seek documents, more

 discovery than TIAA seeks here. In granting expedited discovery in cases subject to FINRA

 arbitration, courts routinely reject the very arguments made by Defendants here. See, e.g., A.G.

 Edwards & Sons, Inc. v. Marcolla, 2007 U.S. Dist. LEXIS 77170, at *8-9 (C.D. Ill. Oct. 17,

 2017) (rejecting defendant’s reliance on the language in the FINRA Code that “depositions are

 strongly discouraged in arbitration,” the court held: “The discovery allowed by this Court is not

 discovery within the arbitration, but rather discovery on the request for temporary injunctive

 relief that is properly before this Court.”); Giger v. Ahmann, 2010 U.S. Dist. LEXIS 86821, at *6

 (N.D. Ill. Aug. 17, 2010) (denying protective order to prevent deposition, court noted: “Ahmann

 also claims Giger is using the deposition to circumvent FINRA rules governing the arbitration.

 Giger denies this contention, and the court sees no reason to doubt Giger at this time. The

 discovery in this action is governed by the Federal Rules, not the FINRA rules.”).

                Yet again, to confirm TIAA would be entitled to expedited discovery even were

 this case subject to FINRA arbitration, one need look no further than Defendants’ own

 opposition. Citing U.S. Supreme Court authority, Defendants argue that “[j]ust as they [parties

 to an arbitration agreement] may limit by contract the issues under which they will arbitrate

 [citation omitted] so too may they specify by contract the rules under which that arbitration

 will be conducted.” (Defendants’ Opposition at p. 9) (bold in the original). Here, both

 Defendants expressly agreed to expedited discovery in their Agreements. In any event, however,

 the simple fact remains that this case is not arbitrable.

                Defendants’ remaining arguments are equally without merit. Relying on another

 case involving Melanie Simons, for instance, Defendants ignore that this other case does not


                                                    3
Case 1:21-cv-01243-MSN-TCB Document 25 Filed 12/14/21 Page 4 of 16 PageID# 727




 even involve the improper solicitation of clients or misuse/retention of confidential information.

 (Defendants’ Opposition at pp. 4-5). Melanie Simons, the defendant in the New York action, is

 the CEO of Defendants’ new employer, Reframe Wealth, and, therefore, her deposition in this

 case is very relevant. She likely possesses information pertaining to Defendants’

 communications with TIAA’s clients as well as any instructions they were given with respect to

 contacting those clients before or after they left TIAA. Far from seeking a “mulligan,” in the

 instant case, TIAA is trying to enjoin conduct that was not even at issue in that other case and

 Ms. Simons has vital testimony to offer in support of TIAA’s preliminary injunction motion.

                Defendants’ reliance on a Texas case against David Ahlquist is equally misplaced.

 (Defendants’ Opposition at p. 7). In that case, TIAA’s broker dealer (a FINRA member) was a

 plaintiff and Mr. Ahlquist (unlike Defendants) continued to be FINRA registered. Also, the

 court granted expedited discovery. (See Exhibit “B” to TIAA’s motion for expedited discovery).

 The mere fact that TIAA’s counsel cited FINRA awards in prior correspondence is also

 meaningless and in no way alters the fact that the instant case is not arbitrable.

                Simply put, Defendants’ opposition to TIAA’s request for expedited discovery is

 without merit. Expedited discovery would significantly streamline the preliminary injunction

 proceedings, and Defendants expressly consented to it in their Agreements.

                II.     STATEMENT OF FACTS

                Try as they might to deny violating their obligations to TIAA, the evidence

 dictates otherwise. Of course, the purpose of TIAA’s expedited discovery motion is to obtain

 further evidence so as to allow the Court to make a ruling on its pending preliminary injunction

 motion based on a full – not just a partial – record.

                With respect to TIAA’s confidential information, while citing to the Covid-19


                                                   4
Case 1:21-cv-01243-MSN-TCB Document 25 Filed 12/14/21 Page 5 of 16 PageID# 728




 pandemic and the necessity to work remotely, Falter does not deny emailing his cell phone

 number to dozens of clients in December 2020 and January 2021, just shortly prior to his notice

 of resignation and months into the pandemic. Compare Falter Dec., ¶ 9 with Conway Dec., ¶ 25.

 To the extent he communicated with TIAA clients on his personal cell phone prior to his

 departure, client contact information would be electronically stored in his cell phone.

                Falter’s claim that he “was never warned by anyone, including Hank Conway

 (‘Conway’), that providing my personal cell phone number to clients was a violation of TIAA

 policy,” and that he “was never approached or otherwise warned by Conway about giving away

 my personal cell phone number to clients,” also is directly contradicted by Mr. Conway’s

 Declaration wherein he makes clear that he reminded Falter doing so was “violation of company

 policy” and that Falter “acknowledged knowing it was against TIAA policy.” Compare Falter

 Dec., ¶¶ 15-16 with Conway Dec., ¶¶ 29-30. As Mr. Conway further states in his Declaration,

 Falter failed to disclose to him that he (Falter) had provided his personal cell phone to dozens of

 TIAA clients and, by doing so, Falter enhanced the odds TIAA clients would call him once he

 joined a competing firm. Conway Dec. at ¶¶ 31-32. Of course, Falter’s Declaration cannot be

 simply taken at “face value.” The very purpose of discovery is to allow a party such as TIAA a

 meaningful opportunity to challenge averments it vehemently disputes.

                As for Falter’s claim that he “did not possess” any confidential information

 following his resignation, see Falter Dec. at ¶ 24, that too is very much in dispute. In fact, in

 their opposition to TIAA’s preliminary injunction motion (at pp. 15-16), Defendants appear to

 challenge whether client names and phone numbers are confidential, leaving open the distinct

 possibility that Falter does continue to retain client names/phone numbers on his personal cell

 phone and simply disputes that this information is “confidential.” Under their Agreements (at ¶


                                                   5
Case 1:21-cv-01243-MSN-TCB Document 25 Filed 12/14/21 Page 6 of 16 PageID# 729




 1), however, and applicable law, client names and phone numbers unquestionably are

 confidential information.

                It also is quite telling that, in its initial demand letter to Falter, TIAA stated as

 follows: “All Confidential Information as defined by your Agreement also must be purged from

 any computers and/or portable devices including, without limitation, the phone numbers of TIAA

 clients on your personal cell phone.” (See Complaint Ex. C at p. 3). Nowhere does Falter

 represent to the Court that he purged any client identities and/or phone numbers from his

 personal cell phone and other personal devices.

                Falter further admits stating in a Facebook post that, in connection with his move

 to Reframe Wealth, “We will be approachable, honest advocates for our clients’ well being.”

 Falter Dec., ¶30, Exhibit C (emphasis added). Falter’s use of the word “honest,” TIAA submits,

 was intentional and to contrast his new venture from TIAA. And while Falter claims “only”

 eight TIAA clients are his Facebook friends, not only is this a matter for discovery but

 disparaging TIAA to just one client, much less eight, constitutes a violation of his non-

 disparagement provision. Id. at ¶31.

                In addition, although Falter claims that he did not falsely tell a TIAA client that

 Ms. Huber (the client’s Wealth Management Advisor at TIAA) was “overwhelmed,” that it

 would “help” Ms. Huber if the client moved to Falter’s new venture, and that it was not

 necessary for the client to contact Ms. Huber because he (Falter) had been “in contact,” Ms.

 Huber’s notes of her conversation with the client cast very serious doubt on the veracity of

 Falter’s denial made “under penalty of perjury.” See Exhibit “A” to the Declaration of Thomas

 J. Momjian, attached hereto as Exhibit “B”.

                Falter further does not dispute that the client transferred to him at Reframe


                                                    6
Case 1:21-cv-01243-MSN-TCB Document 25 Filed 12/14/21 Page 7 of 16 PageID# 730




 Wealth. Ms. Huber is the same TIAA employee who sat next to Falter and overheard him tell

 individuals, prior to his resignation, that he was “overwhelmed” and “frustrated” with TIAA,

 including about changes to TIAA’s compensation package. In light of Ms. Huber’s notes

 directly contradicting Falter’s claim he did not make the aforementioned false statements to a

 TIAA client as part of his efforts to divert the client to his new venture, one must view Falter’s

 denials that he told TIAA clients, before even resigning, that he was “overwhelmed” and

 “frustrated” with a healthy degree of skepticism.

                Significantly, Falter also admits that, after joining Reframe Wealth, he became an

 “authorized party” on at least 20 TIAA accounts, allowing him access to confidential information

 pertaining to those accounts. Falter contends that such designation is proper; however, there can

 be no dispute that Falter became an “authorized party” to TIAA clients which also gave him an

 opportunity to engage in ongoing dialogue with them about their finances/investments in

 connection with his move to a competitor firm, even while still bound by his non-solicitation

 covenant. Indeed, as set forth in TIAA’s motion for a preliminary injunction, solicitation can

 occur regardless of whether the contact is initiated by the former employee or the client.

                It is vital to note as well that Falter only contends he was “authorized” by clients

 to become an “authorized party.” Falter Dec., ¶ 34. He does not swear, however, that it was the

 clients who initially requested that he do so, further evidencing his solicitation of TIAA clients.

 The facts and circumstances surrounding how Falter became an “authorized party” for at least 20

 TIAA clients, and the extent to which he used it as a “gateway” to solicit their business, of

 course, is one of the key issues to be explored in expedited discovery.

                Ample evidence exists that Doll violated her obligations too. Doll admits

 initiating contact with at least one TIAA client relationship, denying any “solicitation” and only


                                                  7
Case 1:21-cv-01243-MSN-TCB Document 25 Filed 12/14/21 Page 8 of 16 PageID# 731




 stating they she contacted the client because of concern for the client’s “well-being.” Doll Dec.,

 ¶ 20. Ms. Doll, however, waited two months after joining Reframe before reaching out to the

 client. (See Ex. “F” to the Doll Dec. at p. 3). Rather than being “concerned” for the client’s

 “well-being,” which presumably would have precipitated a call by Doll to the client much

 earlier, the timing of Doll’s call more strongly suggests that it was part of her renewed efforts to

 divert TIAA clients to her new venture.

                More troubling, Doll’s reliance at the very outset of her Declaration (at ¶¶ 2-4) on

 her Certified Financial Planner (“CFP”) designation, especially Doll’s claim that as a CFP she

 had “an obligation” to provide clients with “any information that is a Material change or update,”

 very much seems to indicate Doll reached out to more than just this one client. In this regard,

 while Doll may contend her CFP designation gave her “license” to call TIAA clients to “update”

 them, this is not the case. See, e.g., Merrill Lynch v. Schultz, 2001 U.S. Dist. LEXIS 26194

 (D.D.C. Feb. 26, 2001) (court held so-called “announcement” phone calls by a CFP were

 solicitations.). Perhaps not surprisingly, Doll – just like Falter – has refused to identify the

 TIAA clients with whom she initiated contact after joining Reframe Wealth.

                Nor does Doll dispute that, after she rejoined Reframe Wealth, she became an

 “authorized party” on TIAA client accounts, giving her the same opportunity as Falter to engage

 in ongoing dialogue with them during her non-solicitation period. Similar to Falter, Doll also

 does not deny that she reached out to some or all of these clients about becoming an “authorized

 party” on their TIAA accounts.

                III.    LEGAL DISCUSSION

     A) TIAA is Not Bound by the FINRA Code.

                Defendants’ first argument in opposition to expedited discovery is that TIAA


                                                   8
Case 1:21-cv-01243-MSN-TCB Document 25 Filed 12/14/21 Page 9 of 16 PageID# 732




 agreed to arbitration before FINRA.1 This argument fails in many respects. First, Defendants

 fail to note that they are no longer registered with FINRA. Second, TIAA is not a FINRA

 member (as Defendants concede) and, as such, did not agree to arbitrate anything before FINRA.

 Third, the Pre-Hire FINRA Rule 2263 Arbitration Disclosure attached as Exhibit “B” to Doll’s

 declaration only requires arbitration only of disputes that are “required to be arbitrated under the

 rules of the self-regulatory organizations with which you are registering.” TIAA is not a member

 of FINRA and therefore not required to arbitrate any disputes with Defendants. Moreover,

 section 7 of Defendants’ Agreement states only that “if arbitration is required . . . .” (emphasis

 added). Arbitration is not required here because TIAA, the signatory to the Agreement, is not a

 member firm, and the Defendants themselves are no longer registered with FINRA.

                As noted above, Defendants’ citation to cases where TIAA and TIAA-CREF

 together sued former associates seeking temporary injunctive relief pending arbitration are

 irrelevant since, inter alia, the former associates, unlike here, continued to be registered with

 FINRA. Defendants’ Opposition at 7-8. No arbitrable dispute exists here.

                The two New York cases cited by Defendants are totally inapposite. In Merrill

 Lynch Intl. Fin., Inc. v. Donaldson, 27 Misc.3d 391 (N.Y. Sup. Ct. 2010), a non-member affiliate

 was charged with enforcing promissory note obligations in court. The Court, in compelling the

 case to FINRA arbitration, held: “FINRA's arbitration requirement cannot be avoided simply by

 having an affiliate of MLPFS or a subsidiary of BofA fund the employment agreement.”

 Donaldson, 27 Misc.3d at 397.

                Indeed, unlike here, Donaldson was employed by Merrill Lynch, Pierce, Fenner &



 1 Separately, Defendants filed a motion to dismiss and compel arbitration. TIAA will respond to
 that motion in due course.

                                                   9
Case 1:21-cv-01243-MSN-TCB Document 25 Filed 12/14/21 Page 10 of 16 PageID# 733




 Smith Inc. (“Merrill Lynch”) itself – the FINRA broker dealer. Id. at 393. As the AWC attached

 as Exhibit “A” to the Declaration of Defendants’ counsel in support of their simultaneously filed

 Motion to Dismiss, Merrill Lynch then used essentially a “shell" company that did not even

 provide the funding for the promissory notes it sued upon as a mechanism to evade FINRA

 arbitration. (Id. at p. 2). “Other than the promissory note, Merrill Lynch representatives had no

 relationship with MLIFI.” (Id. at p. 3). Nothing remotely similar to that exists in this case.

 Defendants were employed by TIAA, the non-FINRA member, and received a host of other

 benefits from TIAA. (Complaint at ¶¶ 8-14).

                In BGC Notes, LLC v. Gordon, 36 N.Y.S.3d 130 (A.D. 2016), an arbitration

 agreement between a FINRA member (BGC Financial) and a FINRA-registered employee

 (Gordon) was contained in Gordon’s employment agreement. Similar to the facts in Donaldson,

 however, a separate promissory note agreement between BGC Notes (a non-member affiliate)

 and Gordon contained a provision that the agreement would be enforced in court.

                The Donaldson and Gordon cases are very specific cases involving non-member

 affiliates attempting to enforce promissory note obligations in court, even though the promissory

 notes were provided to the former employees in the course of their employment with member

 firms. Here, the obligations at issue are directly with TIAA, a non-member with no obligation to

 arbitrate before FINRA. And as pointed out above, Defendants are no longer even registered

 with FINRA.

     B) Even if TIAA is Compelled to Arbitrate before FINRA, It is still Entitled to
        Temporary Injunctive Relief and the Expedited Discovery it seeks herein.

                Even if TIAA were somehow obligated to arbitrate its claims against Defendants

 before FINRA, TIAA would be entitled to seek temporary injunctive relief in Court in



                                                 10
Case 1:21-cv-01243-MSN-TCB Document 25 Filed 12/14/21 Page 11 of 16 PageID# 734




 accordance with FINRA Code Rule 13804 (Exhibit “G” to Baum Declaration) and would still be

 entitled to the expedited discovery it seeks in this case. Courts throughout the country routinely

 grant expedited discovery where firms seek preliminary injunctive relief pending FINRA

 arbitration, as is the case here. See, e.g., Morgan Stanley Smith Barney LLC v. Maloy, 2014

 U.S. Dist. LEXIS 198106, at *5 (W.D. Wash. May 13, 2014); Prudential Ins. Co. of America v.

 Sandvold, 845 F. Supp.2d 971, 973 (D. Minn. 2012); Wachovia Securities, LLC v. Stanton, 571

 F. Supp. 1014, 1050 (N.D. Iowa, 2008); Prudential Ins. Co. of America v. Hosto, 2008 U.S. Dist.

 LEXIS 77051, at *15 (S.D. Ill. Oct. 2, 2008). In Stanton, supra, 571 F. Supp. at 1050, the court

 granted leave to “propound not more than fifteen interrogatories, including discrete subparts, and

 to notice and conduct depositions of not more than five persons,” finding “expedited discovery

 may clarify matters that were outside of Wachovia’s (or Stanton’s) knowledge and may

 ultimately lead to the prompt and efficient disposition of this litigation and the parties’

 underlying dispute.” The expedited discovery sought by TIAA is far more limited.

                In a very recent decision, Sevcik, supra, the court found “good cause to permit

 limited, expedited discovery before the hearing on Morgan Stanley’s request for a preliminary

 injunction” pending FINRA arbitration. (See Exhibit “A”). See also TIAA-CREF Individual &

 Institutional Services, LLC v. Ahlquist, Case No. 4:20-CV-917 (S.D. Tex. May 25, 2020)

 (Exhibit “B” to TIAA’s motion for expedited discovery) (court granted TIAA expedited

 discovery in support of its motion for a preliminary injunction to preserve the status quo pending

 FINRA arbitration.).

                Therefore, Defendants’ argument that the FINRA Code (which is inapplicable in

 any event) does not allow for this type of discovery, Defendants’ Opposition at 8-10, is without

 merit. Although FINRA proceedings may have certain discovery parameters and deadlines, they


                                                   11
Case 1:21-cv-01243-MSN-TCB Document 25 Filed 12/14/21 Page 12 of 16 PageID# 735




 in no way apply to discovery permitted by courts addressing preliminary injunctive relief issues,

 including deposition discovery. The above-referenced decisions clearly illustrate this.

     C) TIAA Meets the Standards for Expedited Discovery.

                TIAA has satisfied the “good cause” standard because its expedited discovery

  request is in aid of its motion for preliminary injunction, and it will continue to suffer

  irreparable harm if it has to wait until after the parties conduct their Rule 26(f) conference.

  Moreover, the discovery is narrowly tailored.

                It is important to reiterate that TIAA is not precluded from obtaining expedited

  discovery merely because Defendants have denied its allegations. The purpose of expedited

  discovery is to aid the Court in resolving the credibility of the parties’ respective allegations and

  assessing the merits of the preliminary injunction motion. As TIAA set forth in its initial

  motion, courts in this district routinely grant motions for expedited discovery in aid of

  preliminary injunction proceedings.

                Indeed, Defendants conveniently ignore Reladyne Reliability Servs. v. Bronder,

  2020 U.S. Dist. LEXIS 178856, at *3 (E.D. Va. August 4, 2020), holding: “Motions for

  expedited discovery are routinely considered either during a court's consideration of motions for

  a preliminary injunction or temporary restraining order, or directly before such motions in order

  to prepare for a preliminary injunction argument. Good cause exists to direct the parties to

  have an opportunity to engage in limited discovery in advance of the hearing on this matter.”

  Id. (emphasis added).

                The “preliminary injunction standard” cited by the Defendants is a “minority

  approach.” ForceX, Inc. v. Tech Fusion, LLC, 2011 U.S. Dist. LEXIS 69454, at *15 (E.D. Va.

  June 27, 2011). Kia Motors, Inc. v. Greenbrier GMC, Inc., 2020 U.S. Dist. LEXIS 252505


                                                   12
Case 1:21-cv-01243-MSN-TCB Document 25 Filed 12/14/21 Page 13 of 16 PageID# 736




  (E.D. Va. December 11, 2020) also is distinguishable. The Court in Kia Motors, employing

  both the “good cause” standard and the “preliminary injunction standard,” held that because the

  plaintiff was willing to delay the preliminary injunction hearing to conduct a mediation,

  expedited discovery was not warranted. In contrast, TIAA has demonstrated a strong showing

  on the merits and irreparable harm and no mediation is scheduled.

                Defendants’ argument that TIAA “dragged its feet”, Defendants’ Opposition at 8,

  before filing this action is without merit. As an initial matter, Defendants’ use of their departure

  date as a “starting point” is groundless. TIAA obviously could not file this action without

  evidence of wrongdoing and based merely on their departures.

                Also, Defendants ignore the fact that TIAA sent numerous communications to

  Defendants or their counsel in an effort to obtain compliance with their contractual obligations.

  Unfortunately, it did not work. In fact, it was not until late September 2021 that TIAA first

  found out that Falter falsely told a client that Ms. Huber was “overwhelmed,” that it would

  “help” her if the client moved to Falter’s new venture, and that it was not necessary for the

  client to contact Ms. Huber because he (Falter) had been “in contact,” Hardly “dragging its

  feet”, TIAA gave Defendants every opportunity to comply with their obligations. Having failed

  to do so, TIAA’s only choice was to seek to enjoin them through court intervention.

     D) TIAA’s Requests are Narrowly Tailored.

                The discovery outlined in TIAA’s initial motion is very narrowly tailored only to

 the key preliminary injunction issues. Defendants’ argument that TIAA failed to attach proposed

 requests or 30(b)(6) notices is weak. On pages 1 and 2 of its initial memorandum of law, TIAA

 sets forth with specificity exactly which documents it seeks and areas of testimony it expects to

 cover with Defendants, as well as non-party Melanie Simons, in depositions to take no more than


                                                  13
Case 1:21-cv-01243-MSN-TCB Document 25 Filed 12/14/21 Page 14 of 16 PageID# 737




 4 hours. Despite Defendants’ complaint that TIAA attaches no 30(b)(6) deposition notices,

 TIAA seeks no 30(b)(6) witness. Nevertheless, TIAA has provided the areas of inquiry with

 great detail.

                 The four categories of documents sought by TIAA from Defendants are their

 communications with TIAA clients (excluding communications with clients after they opened an

 account at Reframe Wealth), any client information Defendants retained, used or disclosed upon

 their departures from TIAA, documents reflecting Defendants’ terms of affiliation with Reframe

 Wealth, and communications between Defendants and Reframe Wealth regarding their

 transitions. These are very narrowly tailored requests. Defendants’ reliance on ForceX, Inc. v.

 Tech. Fusion LLC, 2011 U.S. Dist. LEXIS 69454, at *13-14, n.3 (E.D. Va. June 27, 2011) is

 misplaced. In ForceX, unlike here, plaintiff sought 16 requests for production, including “all cell

 phone, text message, and voicemail records.” Id. (emphasis added). By contrast, TIAA seeks

 limited communications – only (i) with TIAA clients; and (ii) with Reframe Wealth regarding

 Defendants’ transitions. Simply put, unlike in ForceX, the expedited discovery sought in this

 case is clearly spelled out and extremely limited.

                 Finally, Defendants’ argument that Doll should not be subject to the same

 expedited discovery as Falter is without merit. Defendants signed the identical Agreement.

 TIAA has alleged breaches by both Defendants. TIAA has a pending motion for preliminary

 injunctive relief against both Defendants. Accordingly, the expedited discovery TIAA seeks is

 entirely proper.




                                                 14
Case 1:21-cv-01243-MSN-TCB Document 25 Filed 12/14/21 Page 15 of 16 PageID# 738




                                       CONCLUSION

                For the foregoing reasons, and those set forth in its initial moving papers, TIAA

 respectfully requests that its motion for expedited discovery be granted.



                                                      By: /s/ Amy M. Pocklington
                                                      Amy M. Pocklington, Esquire
                                                      Virginia State Bar Number 45233
                                                      amy.pocklington@ogletreedeakins.com
                                                      OGLETREE, DEAKINS, NASH, SMOAK
                                                       & STEWART, PC
                                                      901 East Byrd Street, Suite 1300
                                                      Riverfront Plaza, West Tower
                                                      Richmond, VA 23219
                                                      Telephone: (804) 663-2330
                                                      Fax: (855) 843-1809

                                                      Christopher C. Coss
                                                      Thomas J. Momjian
                                                      COSS & MOMJIAN, LLP
                                                      111 Presidential Boulevard, Suite 214
                                                      Bala Cynwyd, PA 19004
                                                      Telephone: 610-667-6800
                                                      Fax: 610-667-6620

                                                      Counsel for Plaintiff

 Dated: December 13, 2021




                                                 15
Case 1:21-cv-01243-MSN-TCB Document 25 Filed 12/14/21 Page 16 of 16 PageID# 739




                                      Certificate of Service


        I hereby certify that on this 13th day of December, 2021, I electronically filed the

 foregoing with the clerk of the court using the CM/ECF system, and I will also serve a copy of

 this filing on counsel for Defendants by overnight mail:


 Matthew B. Baum, Esq.                           Edward E. Islser, Esq.
 Ellenoff Grossman & Schole LLP                  Micah Ephram Ticatch, Esq.
 1345 Avenue of the Americas – 11th Floor        Isler Dare PC
 New York, NY 10105                              1945 Old Gallows Road
 mbaum@egsllp.com                                Suite 650
                                                 Vienna, VA 22182
                                                 (703) 748-2690
                                                 Fax: (703) 748-2695



                                                     By: /s/ Amy M. Pocklington
                                                     Amy M. Pocklington, Esquire
                                                     Virginia State Bar Number 45233
                                                     amy.pocklington@ogletreedeakins.com
                                                     OGLETREE, DEAKINS, NASH, SMOAK &
                                                     STEWART, P.C.
                                                     901 East Byrd Street, Suite 1300
                                                     Riverfront Plaza, West Tower
                                                     Richmond, VA 23219
                                                     Telephone: (804) 663-2330
                                                     Fax: (855) 843-1809



                                                                                      49633444.1




                                                16
